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                          UNITED STATES DISTRICT COURT

                               DISTRICT OF IDAHO

UNITED STATES OF AMERICA,              )
                                       )     Civ. No. 09-002-E-BLW
             Plaintiff,                )
                                       )
vs.                                    )
                                       )     PRE-TRIAL ORDER
                                       )
RONALD BRET HAMILTON and               )
VANESSA CATTANEA,                      )
                                       )
             Defendants.               )
                                       )

      On November 3, 2009, the Court held a pre-trial conference with counsel in

this case. Based on that conference,

      NOW THEREFORE IT IS HEREBY ORDERED, that the following

deadlines and procedures shall govern the remainder of this litigation:

1.    Jury Selection: Based on the agreement of counsel, and the signed consent

      form (docket no. 60), the jury was selected by Magistrate Judge Mikel H.

      Williams on November 9, 2009. They were instructed to return on

      November 16, 2009.

2.    Trial Schedule: Trial will begin on November 16, 2009, at 8:30 a.m. in the

      Federal Courthouse in Pocatello Idaho. The typical trial day will be from

      8:30 a.m. to 2:30 p.m. with two 15-minute breaks. Trial will run through the

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      entire week of November 16th. Trial will resume on November 23rd, and

      run through November 25th at noon. Following Thanksgiving, trial will

      resume on November 30th. All evidence should be submitted and closing

      arguments and final instructions given by December 1.

3.    Exhibits: Counsel shall only provide the Court with a set of original pre-

      marked exhibits. Because of the use of electronic evidence presentation

      systems, it is unnecessary to provide any copies. Counsel may wish to have

      available in the courtroom a copy of any exhibits which the Court may find

      difficult to review through the evidence presentation system. The exhibit

      lists shall follow the guidelines set out in the Court’s Local Rules to the

      extent it is not inconsistent with this Order. The exhibit lists shall be

      prepared on form provided by the Deputy Clerk, with sufficient copies for

      the Judge, the Deputy Clerk, and the Law Clerk. Exhibit numbers 1 through

      999 shall be reserved for joint exhibits; exhibit numbers 1000 through 1999

      shall be reserved for plaintiff’s exhibits; exhibit numbers 2000 through 2999

      shall be reserved for the first defendant listed on the caption; exhibit

      numbers 3000 through 3999 shall be reserved for the second defendant listed

      on the caption; and so on. Counsel shall review their exhibits, determine any

      duplication, and jointly mark and stipulate to the admission of those exhibits


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      that both sides intend to offer and rely upon. The proposed jury instructions

      shall follow the guidelines set out in the Court’s Local Rules, to the extent it

      is not inconsistent with this Order. Additionally, counsel shall provide a

      clean copy of the Jury Instructions to the Court in Word Perfect format and

      emailed to BLW_orders@id.uscourts.gov.

4.    Trial Procedures:

      a.       Counsel shall exercise good faith in attempting to reach a stipulation

               on undisputed facts and admission of exhibits.

      b.       During trial, the jury will be in the box hearing testimony the entire

               trial day between 8:30 a.m and 2:30 p.m., except for the standard

               fifteen minute recesses. During the time the jury is in the jury box, no

               argument, beyond on-sentence evidentiary objections, shall be

               allowed to interrupt the flow of testimony. If counsel have matters

               that need to be resolved outside the presence of the jury, they are to

               advise the Court and counsel prior to the issue arising during trial so

               that it can be heard during a recess, or before or after the jury

               convenes. Where the need for such a hearing cannot be anticipated,

               the Court will direct the examining counsel to avoid the objectionable

               subject and continue on a different line of questioning so that the


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               objection can be argued and resolved at the next recess. To avoid

               late-night sessions, counsel are advised to bring up all anticipated

               evidentiary questions in their pretrial briefs.

      c.       Counsel shall have enough witnesses ready to ensure a full day of

               testimony. If witnesses are unavoidable delayed, counsel shall

               promptly notify the court and opposing counsel.

5.    Pending Motions: Because the Government represented at the conference

      that it would not introduce the character evidence that defendant Cattanea

      sought to exclude in her motion, that motion is moot. With regard to

      Cattanea’s motion for discovery, the Court finds that motion moot as well

      because the Government has provided supplemental discovery.

      Accordingly, NOW THEREFORE IT IS HEREBY ORDERED, that the

      motion in limine to exclude character evidence (docket no. 46) and the

      motion for discovery (docket no. 45) are DEEMED MOOT.

                                  DATED: November 10, 2009




                                  Honorable B. Lynn Winmill
                                  Chief U. S. District Judge




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